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 8
                                   IN THE UNITED STATES DISTRICT COURT
 9
                                      EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NO. 1:18-CR-153-NONE
12                               Plaintiff-Respondent,   MOTION FOR EXTENSION OF TIME TO FILE
                                                         OPPOSITION TO § 2255 MOTION; ORDER
13                          v.
14   JAVIER ALONSO BELTRAN,
15                               Defendant-Petitioner.
16

17          On July 22, 2019, Javier Alonso Beltran filed a Motion to Vacate, Set Aside, or Correct a

18 Sentence under 28 U.S.C. § 2255. (Dkt. 42). The Court appointed counsel for Beltran, and set a briefing

19 schedule, which required counsel for Beltran to file a supplement no later than December 23, 2019, and

20 the United States to file a response no later than February 21, 2020. (Dkt. 45). In December 2019,
21 counsel for Beltran filed a motion for an extension of time, which the Court granted, allowing Beltran to

22 file a response no later than January 22, 2020. (Dkt. 48). In its order granting Beltran’s extension, the

23 Court did not address the date of the United States’ response or extend the time for the United States to

24 respond, and therefore the United States’ response is still due on February 21, 2020. (See Dkt. 48).

25          The United States requests an extension of three weeks, to March 13, 2020, for it to file its

26 response to Beltran’s Supplement to his § 2255 Motion. Counsel for the United States has been
27 attempting to meet the original February 21, 2020, deadline. However, counsel is also preparing for an

28 upcoming multi-defendant, multi-week trial and has had to deal with several trial-related deadlines, in
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 1 addition to the normal caseload. Additional time is therefore needed to research, prepare, and file a

 2 response. The United States has communicated with counsel for Beltran, and counsel for Beltran does

 3 not object to a three-week extension.

 4
     Dated: February 18, 2020                               MCGREGOR W. SCOTT
 5                                                          United States Attorney
 6
                                                            /s/ ROSS PEARSON
 7                                                          ROSS PEARSON
                                                            Assistant United States Attorney
 8

 9
10                                         FINDINGS AND ORDER
11          GOOD CAUSE appearing, the United States’ request for a three-week extension within which to
12 file its Opposition to Beltran’s Supplemental Motion to Vacate, Set Aside, or Correct Sentence, shall be

13 extended three weeks from February 21, 2020, to March 13, 2020.

14
     IT IS SO ORDERED.
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16      Dated:    February 19, 2020
                                                      UNITED STATES DISTRICT JUDGE
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      MOTION FOR EXTENSION OF TIME TO FILE              2
      OPPOSITION TO § 2255 MOTION; ORDER
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